91 F.3d 136
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Willie WILLIAMS, Jr., Defendant-Appellant.
    No. 95-7581.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 20, 1996.Decided June 27, 1996.
    
      Willie Williams, Jr., Appellant Pro Se.
      Mark C. Moore, Assistant United States Attorney, Columbia, South Carolina, for Appellee.
      Before HALL, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion for release pending disposition of his motion for reconsideration of the denial of his Fed.R.Crim.P. 35 motion and pending the outcome and possible appeal of a pending and a future habeas corpus proceeding.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Williams, No. CR-92-33-3 (D.S.C. Sept. 18, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    